                  Case: 1:20-cv-07196 Document #: 12 Filed: 12/08/20 Page 1 of 2 PageID #:338
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
MARIO TRICOCI HAIR SALONS & DAY
SPAS, LLC, d/b/a Tricoci Salon and Spa, an
Illinois corporation
                                                                 CASE NUMBER:       20-cv-07196
                                V.                               ASSIGNED JUDGE:
                                                                                    Matthew F. Kennelly
 CLAUDIA POCCIA and MOLLY SLOAT                                  DESIGNATED
                                                                 MAGISTRATE JUDGE: Gabriel A. Fuentes


                    TO: (Name and address of Defendant)
       Molly Sloat
       1020 Ridgewood Dr.
       Highland Park, IL 60035



          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Michael D. Karpeles
                 Greenberg Traurig, LLP
                 77 W. Wacker Drive, Suite 3100
                 Chicago, IL 60601
                 Tel: (312) 456-8400

                                                                          within 21 days
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK
                          RK

                                                                                    December 4, 2020
                                                                                    Decem
     (By) DEPUTY CLERK                                                              DATE
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